 Case 2:13-bk-22572-RK          Doc 162 Filed 04/23/15 Entered 04/23/15 15:49:38                  Desc
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 4

 5   Attorney for Debtors                                               CLERK U.S. BANKRUPTCY COURT
                                                                        Central District of California
                                                                        BY tatum      DEPUTY CLERK
 6

 7
                                  UNITED STATES BANKRUPTCY COURT
 8
                                   CENTRAL DISTRICT OF CALIFORNIA
 9
                                            LOS ANGELES DIVISION
10

11   In re:                                                Case No 2:13-bk-22572-RK

12       MUSHTAQ AHMED                                     Chapter 11
13       KATIA AHMED                                       ORDER GRANTING MOTION FOR
                                                           FINAL DECREE AND CLOSING
14
                                                           CHAPTER 11 CASE
15                                Debtors

16                                                         Hearing
                                                           Date: April 15, 2015
17                                                         Time: 11:00 a.m.
18                                                         Place: Courtroom 1675

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23
              On April 15, 2015 at 11:00 a.m., Debtors’ motion for Entry of Final Decree and Closing
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     of Debtors’ Chapter 11 Case came on regular notice for hearing in Court Room 1675 of the
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     United States Bankruptcy Court located at 255 East Temple Street, Los Angeles, California
26
27   90012. Appearances were stated on the record.

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                                                       1
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 1
            The Court having reviewed and considered Debtors’ Motion for Entry of Final Decree and
 2
     Closing of Debtors’ Chapter 11 Case and for lack of timely written opposition, hereby orders as
 3
     follows
 4
            1. ORDERED that the motion is granted; and it is further,
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            1. ORDERED that upon entry of Final Decree, the Reorganized Debtor’s Chapter 11 case
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                shall be closed.
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     IT IS SO ORDERED
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       Date: April 23, 2015
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